Case 4:20-cv-00283-O Document 24 Filed 09/12/20     Page 1 of 39 PageID 317


           UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF TEXAS
               FORT WORTH DIVISION


 John Kelley, et al.

                       Plaintiffs,
                                        Case No. 4:20-cv-00283-O
 v.

 Alex M. Azar II, et al.,

                       Defendants.


 BRIEF IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS



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Case 4:20-cv-00283-O Document 24 Filed 09/12/20                                    Page 2 of 39 PageID 318


                                       TABLE OF CONTENTS
Table of contents .................................................................................................... i
Table of authorities................................................................................................ ii
     I. The plaintiffs have alleged Article III standing ............................................. 1
          A. Mr. Kelley, Mr. Starnes, Mr. and Mrs. Maxwell, and Kelley
             Orthodontics have alleged standing to challenge the Contraceptive
             Mandate ................................................................................................ 1
               1. The DeOtte class members have alleged injury in fact ........................ 2
               2. The DeOtte class members have alleged traceability........................... 4
               3. The DeOtte class members have alleged redressability ....................... 6
          B. Mr. and Mrs. Riddle, Mr. Miller, and Dr. Scheideman have all
             alleged standing ..................................................................................... 7
          C. The plaintiffs have alleged standing to challenge all preventive-care
             coverage mandates that that issued after March 23, 2010 ....................... 9
     II. Res judicata does not bar the claims asserted by members of the
         DeOtte classes ........................................................................................... 10
          A. Hellerstedt allows the DeOtte class members to challenge the
             constitutionality of 42 U.S.C. § 300gg-13(a)(4) .................................. 11
          B. The DeOtte class members can challenge the constitutionality of 42
             U.S.C. § 300gg-13(a) (4) under the “same nucleus of operative
             facts” test ............................................................................................ 13
     III.The plaintiffs’ claims are not time-barred ................................................... 14
     IV. The plaintiffs have alleged a violation of the Appointments Clause ............. 16
     V. The Secretary’s authority to appoint ACIP members under 42 U.S.C.
        § 217a(a) does not defeat the plaintiffs’ Appointments Clause claim .......... 24
     VI. The plaintiffs have alleged a violation of the Vesting Clause ....................... 26
     VII.The plaintiffs have alleged a violation of the nondelegation doctrine .......... 27
     VIII.42 U.S.C. § 300gg-13(a)(1)–(4) should be construed, as a matter of
         statutory interpretation, to refer to the ratings, recommendations, or
         guidelines that existed on the date that the Affordable Care Act became
         law ......................................................................................................... 30
     IX. The plaintiffs have alleged a violation of RFRA .......................................... 31
Conclusion .......................................................................................................... 33
Certificate of service ............................................................................................ 34




brief in opposition to defendants’ motion to dismiss                                                       Page i of iv
Case 4:20-cv-00283-O Document 24 Filed 09/12/20                               Page 3 of 39 PageID 319


                                 TABLE OF AUTHORITIES
Cases
American Legion v. American Humanist Ass’n,
 139 S. Ct. 2067 (2019) ..................................................................................... 4
Ashcroft v. Iqbal,
  556 U.S. 662 (2009) ......................................................................................... 1
Ass’n of Data Processing Serv. Organizations, Inc. v. Camp,
  397 U.S. 150 (1970) ......................................................................................... 3
Barr v. American Association of Political Consultants, Inc.,
  140 S. Ct. 2335 (2020) ................................................................................... 17
Bell Atlantic Corp. v. Twombly,
   550 U.S. 544 (2007) ......................................................................................... 1
Bond v. United States,
  572 U.S. 844 (2014) ....................................................................................... 31
Bowsher v. Synar,
  478 U.S. 714 (1986) ....................................................................................... 10
Burwell v. Hobby Lobby Stores, Inc.,
  573 U.S. 682 (2014) ....................................................................................... 32
Center for Auto Safety v. National Highway Traffic Safety Administration,
  793 F.2d 1322 (D.C. Cir. 1986) ....................................................................... 2
Consumer Federation of America v. FCC,
  348 F.3d 1009 (D.C. Cir. 2003) ....................................................................... 8
Czyzewski v. Jevic Holding Corp.,
  137 S. Ct. 973 (2017) ....................................................................................... 4
DeOtte v. Azar,
  393 F. Supp. 3d 490 (N.D. Tex. 2019) ......................................................... 1, 5
Edmond v. United States,
  520 U.S. 651 (1997) ....................................................................................... 25
Flynt v. Shimazu,
   940 F.3d 457 (9th Cir. 2019) ......................................................................... 15
Gundy v. United States,
  139 S. Ct. 2116 (2019) ................................................................................... 29
INS v. St. Cyr,
  533 U.S. 289 (2001) ....................................................................................... 30
Kuhnle Brothers, Inc. v. County of Geauga,
  103 F.3d 516 (6th Cir. 1997) ......................................................................... 14




brief in opposition to defendants’ motion to dismiss                                                Page ii of iv
Case 4:20-cv-00283-O Document 24 Filed 09/12/20                               Page 4 of 39 PageID 320


Leatherman v. Tarrant County. Narcotics Intelligence & Coordination Unit,
  507 U.S. 163 (1993) ..................................................................................... 6, 9
Lexmark Int’l, Inc. v. Static Control Components, Inc.,
  572 U.S. 118 (2014) ......................................................................................... 4
Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania,
   140 S. Ct. 2367 (2020) ............................................................................. passim
Lucia v. SEC,
  138 S. Ct. 2044 (2018) ........................................................... 18, 19, 20, 21, 24
Lujan v. Defenders of Wildlife,
  504 U.S. 555 (1992) ..................................................................................... 1, 6
New York Republican State Committee v. SEC,
  927 F.3d 499 (D.C. Cir. 2019) ......................................................................... 4
Northwest Austin Municipal Utility District No. One v. Holder,
  557 U.S. 193 (2009) ....................................................................................... 31
Orangeburg, South Carolina v. FERC,
  862 F.3d 1071 (D.C. Cir. 2017) ....................................................................... 3
Palacios v. MedStar Health, Inc.,
  298 F. Supp. 3d 87 (D.D.C. 2018) ................................................................. 15
Philadelphia Co. v. Stimson,
  223 U.S. 605 (1912) ....................................................................................... 16
Riley v. St. Luke’s Episcopal Hospital,
  252 F.3d 749 (5th Cir. 2001) ................................................................... 18, 21
Roe v. Wade,
  410 U.S. 11 (1973) ........................................................................................... 8
Seila Law LLC v. Consumer Financial Protection Bureau,
   140 S. Ct. 2183 (2020) ................................................................................... 26
Town of Chester v. Laroe Estates, Inc.,
  137 S. Ct. 1645 (2017) ................................................................................... 10
United States v. Students Challenging Regulatory Agency Procedures (SCRAP),
  412 U.S. 669 (1973) ......................................................................................... 4
Virginia Hospital Ass’n v. Baliles,
  868 F.2d 653 (4th Cir. 1989) ......................................................................... 14
Whitman v. American Trucking Associations,
 531 U.S. 457 (2001) ................................................................................. 27, 28
Whole Woman’s Health v. Hellerstedt,
 136 S. Ct. 2292 (2016) ................................................................... 3, 10, 11, 12




brief in opposition to defendants’ motion to dismiss                                                Page iii of iv
Case 4:20-cv-00283-O Document 24 Filed 09/12/20                               Page 5 of 39 PageID 321


Statutes
42 U.S.C. § 217a .................................................................................... 19, 24, 25
42 U.S.C. § 299b-4............................................................................................. 26
42 U.S.C. § 300gg-13(a) .............................................................................. passim
42 U.S.C. § 300gg-13(a)(1) .............................................................. 15, 21, 26, 28
42 U.S.C. § 300gg-13(a)(2) .............................................................. 18, 24, 25, 28
42 U.S.C. § 300gg-13(a)(3) ................................................................................ 28
42 U.S.C. § 300gg-13(a)(4) .......................................................................... passim
Other Authorities
William Baude, Adjudication Outside Article III,
  133 Harv. L. Rev. 1511 (2020) ....................................................................... 27
Merriam-Webster.com ......................................................................................... 22
Nicholas Quinn Rosenkranz, The Subjects of the Constitution,
  62 Stan. L. Rev. 1209 (2010) .......................................................................... 13
Officers of the United States Within the Meaning of the Appointments Clause,
  31 Op. Off. Legal Counsel 73 (Apr. 16, 2007) .......................................... passim
The Constitutional Separation of Powers Between the President and Congress,
  20 Op. Off. Legal Counsel 124 (1996)............................................................ 25




brief in opposition to defendants’ motion to dismiss                                                Page iv of iv
Case 4:20-cv-00283-O Document 24 Filed 09/12/20               Page 6 of 39 PageID 322


     The government seeks dismissal on numerous grounds. We will address its argu-
ments in the order they appear in its brief.

I.     The Plaintiffs Have Alleged Article III Standing
     At the pleading stage, a plaintiff needs only to allege and not prove the elements
of Article III standing. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992)
(“[E]ach element [of the Article III standing inquiry] must be supported in the same
way as any other matter on which the plaintiff bears the burden of proof, i.e., with the
manner and degree of evidence required at the successive stages of the litigation.”).
Detailed factual allegations are not required; a complaint needs only to provide a
plausible basis for believing that Article III standing can be established. See Ashcroft v.
Iqbal, 556 U.S. 662, 677–78 (2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 544,
555–56 (2007). The first amended complaint does more than enough to plausibly
allege the components of Article III standing for each of the claims.

       A.      Mr. Kelley, Mr. Starnes, Mr. and Mrs. Maxwell, and Kelley
               Orthodontics Have Alleged Standing To Challenge The
               Contraceptive Mandate
     In DeOtte v. Azar, 393 F. Supp. 3d 490, 509 (N.D. Tex. 2019), this Court en-
joined the defendants from enforcing the Contraceptive Mandate against insurers who
are willing to offer policies that exclude contraceptive coverage to individuals who

oppose such coverage based on religious belief. Several of the plaintiffs in this case,
including Mr. Kelley, Mr. Starnes, Mr. and Mrs. Maxwell, and Kelley Orthodontics,
are members of the DeOtte class and have the prerogative to purchase contraceptive-
free health insurance from insurers willing to provide it.1 The government denies that



1.    We will refer to these plaintiffs collectively as “the DeOtte class members.” Plain-
      tiff Braidwood Management Inc. is a member of the employer class protected by
      the DeOtte injunction, but the plaintiffs acknowledge that Braidwood is no
      longer suffering injury in fact from the continued enforcement of the Contra-
      ceptive Mandate.


brief in opposition to defendants’ motion to dismiss                           Page 1 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20              Page 7 of 39 PageID 323


anyone protected by the DeOtte injunction can allege standing to challenge the con-
tinued enforcement of the contraceptive mandate, but the government’s argument is
mistaken.

              1.      The DeOtte Class Members Have Alleged Injury In Fact
    The DeOtte class members allege that the continued enforcement of the Contra-
ceptive Mandate inflicts Article III injury — even though the DeOtte injunction allows
insurers to offer contraceptive-free policies to individual religious objectors — because
“few if any” insurance companies are currently offering policies of this sort:

       Despite the DeOtte injunction, few if any insurance companies are cur-
       rently offering health insurance that excludes coverage for contracep-
       tion, and the continued existence of the Contraceptive Mandate re-
       stricts the options available to those who wish to purchase health insur-
       ance but who do not need or want contraceptive coverage.
First Amended Complaint (ECF No. 14) at ¶ 28; The complaint goes on to allege:

       Although the DeOtte injunction permits issuers of health insurance to
       issue group or individual health-insurance coverage that excludes abor-
       tifacient contraception to religious objectors, few if any insurance com-
       panies are offering health insurance of this sort. And even if a health
       insurer were willing to create and offer a policy that excludes abortifa-
       cient contraceptive coverage solely for religious objectors, the Contra-
       ceptive Mandate drastically restricts the available options on the market
       to consumers who hold religious objections to abortifacients. The Man-
       date requires any policy that covers anyone who lacks a sincere religious
       objection to contraception to cover all forms of FDA-approved contra-
       ceptive methods, without any deductibles or co-pays. Without the fed-
       eral Contraceptive Mandate, insurers will have the freedom to offer pol-
       icies that exclude contraceptive coverage to the general public, just as
       they did before the Contraceptive Mandate, which will expand the
       health-insurance options available to consumers who oppose abortifa-
       cient contraceptive coverage for sincere religious reasons.
Id. at ¶ 37. How does this fail to allege injury in fact? Injury can surely arise from
regulations that reduce the number of contraceptive-free health-insurance policies
that are available on the market. See Center for Auto Safety v. National Highway Traf-
fic Safety Administration, 793 F.2d 1322, 1332–34 (D.C. Cir. 1986) (holding that a



brief in opposition to defendants’ motion to dismiss                         Page 2 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20             Page 8 of 39 PageID 324


reduced opportunity to purchase fuel-efficient vehicles established injury in fact); id.
at 1332 (“NHTSA’s low CAFE standards will diminish the types of fuel-efficient ve-
hicles and options available. Without the threat of civil penalties, manufacturers will
not be prodded to install as many fuel-saving devices, nor to install them as promptly.
As a result, petitioners’ members will have less opportunity to purchase fuel-efficient
light trucks than would otherwise be available to them.”); Orangeburg, South Caro-
lina v. FERC, 862 F.3d 1071, 1078 (D.C. Cir. 2017) (“The lost opportunity to pur-
chase a desired product is a cognizable injury, even though Orangeburg can purchase,
and has purchased, wholesale power from another source. . . . [E]ven though Orange-
burg can and does purchase wholesale power from another source, the city cannot
purchase wholesale power from the provider of its choice nor on its preferred terms”).
If a pregnant woman alleged that federal or state abortion regulations had reduced
the number of available providers, that would surely qualify as an Article III injury.
See Whole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292, 2307 (2016). It is hard to
understand how a different result can obtain here. The government cites no authority
that denies that an injury of this sort can confer standing. And its argument flies in

the face of Center for Auto Safety and Orangeburg, which specifically hold that Article
III injury arises when regulations reduce the available options from which to purchase

a desired product.
    The government also asserts that “there is no legally protected right to an unfet-
tered choice in health insurance coverage.” Mot. to Dismiss (ECF No. 20) at 9. But
the injury-in-fact test does not turn on whether one is alleging the invasion of a “le-
gally protected right.” See Ass’n of Data Processing Serv. Organizations, Inc. v. Camp,
397 U.S. 150, 153 (1970) (specifically rejecting the notion that a plaintiff must allege
the invasion of a “legally protected right” to establish standing); id. (“The ‘legal in-
terest’ test goes to the merits. The question of standing is different.”). A plaintiff
needs only to allege an injury in fact. See id. at 152 (“The first question is whether


brief in opposition to defendants’ motion to dismiss                        Page 3 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20               Page 9 of 39 PageID 325


the plaintiff alleges that the challenged action has caused him injury in fact, economic
or otherwise.”). And an “identifiable trifle” is all that is needed — not the identifica-
tion of a “legally protected right.” See United States v. Students Challenging Regula-
tory Agency Procedures (SCRAP), 412 U.S. 669, 690 n.14 (1973); see also American
Legion v. American Humanist Ass’n, 139 S. Ct. 2067 (2019) (unwanted contact with
a religious display sufficient to confer standing); Czyzewski v. Jevic Holding Corp., 137
S. Ct. 973, 983 (2017) (“For standing purposes, a loss of even a small amount of
money is ordinarily an ‘injury.’”); New York Republican State Committee v. SEC, 927
F.3d 499, 504 (D.C. Cir. 2019) (“As we have long held, even a slight injury is suffi-
cient to confer standing; the size of the harm therefore poses no jurisdictional barrier
to the NYGOP’s claim.”).

               2.      The DeOtte Class Members Have Alleged Traceability
     The DeOtte class members have specifically alleged that their inability to purchase
health insurance that excludes contraceptive coverage is traceable to the defendants’
continued enforcement of the Contraceptive Mandate. See First Amended Complaint
(ECF No. 14) at ¶ 37 (“[T]he Contraceptive Mandate drastically restricts the availa-
ble options on the market to consumers who hold religious objections to abortifa-
cients. The Mandate requires any policy that covers anyone who lacks a sincere reli-
gious objection to contraception to cover all forms of FDA-approved contraceptive
methods, without any deductibles or co-pays.”). And it is hard to fathom how the
government can deny that this injury is “fairly traceable” to the Contraceptive Man-
date.2 The entire reason for the Contraceptive Mandate’s existence was that some pri-
vate insurers were not providing contraceptive coverage on their own initiative or in



2.    See Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 134 n.6
      (2014) (“Proximate causation is not a requirement of Article III standing, which
      requires only that the plaintiff’s injury be fairly traceable to the defendant’s con-
      duct.”).


brief in opposition to defendants’ motion to dismiss                           Page 4 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20              Page 10 of 39 PageID 326


 response to market forces; that is why the Obama Administration issued regulations
 to force every insurer to provide this coverage regardless of whether the beneficiary
 wanted or needed it. The present-day absence of contraceptive-free health-insurance
 policies is a direct result of the federal Contraceptive Mandate and the defendants’
 continued enforcement of it.
     The defendants appear to be arguing that the failure of insurance companies to
 suddenly provide contraceptive-free health-insurance policies in response to the De-
 Otte injunction proves that the absence of these policies is attributable to market
 forces rather than government regulation. See Mot. to Dismiss (ECF No. 20) at 10.
 Hardly. The DeOtte injunction allows insurance companies to offer contraceptive-free
 health insurance only to individual religious objectors and not to the public at large.
 See DeOtte v. Azar, 393 F. Supp. 3d 490, 513–15 (N.D. Tex. 2019). So it is not at
 all surprising that insurers are slow to create new policies that can only be offered or
 sold to a narrow slice of the population.
     But more importantly, the complaint specifically alleges that the continued en-
 forcement of the Contraceptive Mandate makes it untenable for insurers to offer con-

 traceptive-free health-insurance policies to the general public. See First Amended
 Complaint (ECF No. 14) at ¶ 37 (“The Mandate requires any policy that covers any-

 one who lacks a sincere religious objection to contraception to cover all forms of FDA-
 approved contraceptive methods, without any deductibles or co-pays. Without the
 federal Contraceptive Mandate, insurers will have the freedom to offer policies that
 exclude contraceptive coverage to the general public, just as they did before the Con-
 traceptive Mandate, which will expand the health-insurance options available to con-
 sumers who oppose abortifacient contraceptive coverage for sincere religious rea-
 sons.”). This allegation must be assumed true at the motion-to-dismiss stage, even if
 the government disputes it, and that is all that is needed to allege traceability at this




 brief in opposition to defendants’ motion to dismiss                         Page 5 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20                 Page 11 of 39 PageID 327


 stage of the litigation. See Leatherman v. Tarrant County Narcotics Intelligence & Co-
 ordination Unit, 507 U.S. 163, 164 (1993) (“We review here a decision granting a
 motion to dismiss, and therefore must accept as true all the factual allegations in the
 complaint.”).

                 3.     The DeOtte Class Members Have Alleged Redressability
      The DeOtte class members have alleged redressability by specifically asserting that
 an injunction against the continued enforcement of the Contraceptive Mandate “will
 expand” the availability of contraceptive-free health insurance:

         Without the federal Contraceptive Mandate, insurers will have the free-
         dom to offer policies that exclude contraceptive coverage to the general
         public, just as they did before the Contraceptive Mandate, which will
         expand the health-insurance options available to consumers who oppose
         abortifacient contraceptive coverage for sincere religious reasons.
 First Amended Complaint (ECF No. 14) at ¶ 37 (emphasis added). These statements
 go beyond merely alleging that the plaintiffs’ injuries are “likely” to be redressed by
 relief that invalidates the Contraceptive Mandate across the board.3 These statements
 allege that the plaintiffs’ injuries will in fact be redressed by the requested relief —
 and these factual assertions must be accepted as true at this stage of the litigation. See
 Leatherman, 507 U.S. at 164.
      The government argues that the willingness of private insurers to offer contra-
 ceptive-free health insurance is speculative rather than certain.4 See Mot. to Dismiss
 (ECF No. 20) at 10–11. But those are factual questions that cannot be resolved on a
 motion to dismiss. The plaintiffs are not required to prove that insurance companies
 actually will offer contraceptive-free health insurance in response to their lawsuit at
 this stage of the litigation, nor are they required to prove that their requested relief


 3.    See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992) (holding that a
       plaintiff needs only to allege that it is “likely” that his injury will be redressed by
       the requested relief).
 4.    See Mot. to Dismiss (ECF No. 20) at 10–11.


 brief in opposition to defendants’ motion to dismiss                             Page 6 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20               Page 12 of 39 PageID 328


 will reduce premiums for health insurance. And if the defendants want to dispute the
 plaintiffs’ claim that insurers “will expand” the availability of contraceptive-free health
 insurance in response to the requested injunction, they can do so at summary judg-
 ment. The plaintiffs have asserted that this will occur, and that is all that is needed to
 allege redressability under the rules of notice pleading.5

        B.      Mr. and Mrs. Riddle, Mr. Miller, and Dr. Scheideman Have All
                Alleged Standing
      The government’s brief incorrectly states that Mr. Miller and Mr. and Mrs. Riddle
 object “only” to the Contraceptive Mandate and not the other preventive-care cov-
 erage mandates. Mr. Miller and Mr. and Mrs. Riddle — along with the other plain-
 tiffs — are seeking to enjoin the enforcement of all the preventive-care coverage man-
 dates that issued after March 23, 2010, so they can choose for themselves the extent
 of coverage that they want:

        The preventive-care coverage mandates, however, make it impossible
        for Mr. and Mrs. Riddle to purchase health insurance unless they agree
        to pay for contraceptive coverage and other preventive-care coverage that
        they do not want and do not need.
 First Amended Complaint ¶ 41 (emphasis added); see also id. at ¶ 46 (same allegation

 with respect to Mr. Miller). The Contraceptive Mandate is one example of the un-
 needed and unwanted coverage compelled by the defendants’ enforcement of 42

 U.S.C. § 300gg-13(a), but it is not the only one, and the plaintiffs do not need to
 provide a detailed recitation in their pleading of the preventive-care coverage they
 want or do not want to pay for. The plaintiffs’ objection is to the compulsion and lack
 of choice imposed by 42 U.S.C. § 300gg-13(a), and their requested relief will remedy



 5.   The complaint does not allege (or concede) that every private insurer is currently
      covering PrEP drugs, as the government suggests in its brief. See Mot. to Dismiss
      (ECF No. 20) at 11 n.2. The PrEP mandate does not take effect until 2021, and
      when it takes effect it will become impossible for the plaintiffs to purchase or
      obtain health insurance that excludes this coverage.


 brief in opposition to defendants’ motion to dismiss                           Page 7 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20               Page 13 of 39 PageID 329


 that by enjoining the enforcement of any coverage mandate based upon an agency
 rating, recommendation, or guideline that issued after March 23, 2010.
     Mr. and Mrs. Riddle, Mr. Miller, and Dr. Scheideman are suffering the same “in-
 jury in fact” as the DeOtte class members: The inability (or reduced ability) to pur-
 chase a desired product or service. Each of these plaintiffs wants to purchase health
 insurance that excludes coverage of contraception (and other unneeded and unwanted
 preventive care), and each of them is unable to do so on account of 42 U.S.C.
 § 300gg-13(a). Indeed, each of the plaintiffs has alleged that it is “impossible” for
 them to purchase contraceptive-free health insurance (and other forms of stripped-
 down health coverage) in the current regulatory climate. See First Amended Com-
 plaint (ECF No. 14) at ¶¶ 41, 46, 50. It is not merely that the enforcement of the
 Contraceptive Mandate (and the other preventive-care mandates) “drastically restricts
 the available options on the market.” Id. at ¶ 37. It is that the plaintiffs are unable to
 obtain insurance that excludes coverage of some or all of the government-mandated
 preventive care. If a woman alleged that she could not obtain an abortion because
 federal and state regulations had chased out willing providers and made it “impossi-

 ble” for her to access the procedure, that would qualify as an Article III injury. See
 Roe v. Wade, 410 U.S. 113, 124–25 (1973). So too here; the inability to purchase a

 desired product or service will always constitute injury in fact. See Consumer Federa-
 tion of America v. FCC, 348 F.3d 1009, 1012 (D.C. Cir. 2003) (“[T]he inability of
 consumers to buy a desired product may constitute injury-in-fact ‘even if they could
 ameliorate the injury by purchasing some alternative product.’” (citation omitted)).
     The government questions whether its preventive-care mandates actually lead to
 higher premiums. See Mot. to Dismiss (ECF No. 20) at 12–13. But the complaint
 specifically alleges that the preventive-care mandates have led to “higher premiums
 for health insurance that must cover preventive care free of charge as decreed by the




 brief in opposition to defendants’ motion to dismiss                          Page 8 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20             Page 14 of 39 PageID 330


 U.S. Preventive Services Task Force, the Advisory Committee on Immunization Prac-
 tices, and the Health Resources and Services Administration.” First Amended Com-
 plaint (ECF No. 14) at ¶ 51. That allegation must be accepted as true at the motion-
 to-dismiss stage. See Leatherman, 507 U.S. at 164. Whether the plaintiffs are actually
 paying higher premiums for this unnecessary and unwanted coverage is a disputed
 factual question that cannot be resolved on a motion to dismiss. See id. The mere
 allegation is enough to establish traceability and redressability at the motion-to-dis-
 miss stage.

        C.     The Plaintiffs Have Alleged Standing To Challenge All Preventive-
               Care Coverage Mandates That That Issued After March 23, 2010
     The plaintiffs have alleged throughout their complaint that they oppose and are
 harmed by more than just the Contraceptive Mandate and the compulsory coverage
 of PrEP drugs. See, e.g., First Amended Complaint ¶ 35 (“Mr. Kelley, Mr. Starnes,
 Mr. Maxwell, and Ms. Maxwell . . . do not want or need free STD testing covered by
 their health insurance because they are in monogamous relationships with their re-
 spective spouses.”); id. at ¶ 41 (“The preventive-care coverage mandates, however,
 make it impossible for Mr. and Mrs. Riddle to purchase health insurance unless they

 agree to pay for contraceptive coverage and other preventive-care coverage that they do
 not want and do not need.” (emphasis added); id. at ¶ 46 (same allegation with respect
 to Mr. Miller); id. at ¶ 51 (“The preventive-care coverage mandates . . . deprive[] Dr.
 Scheideman of the option of purchasing less expensive health insurance for his em-
 ployees with less extensive coverage of preventive care.”); id. at ¶ 55 (“Kelley Ortho-
 dontics wishes to provide health insurance for its employees that excludes coverage of
 contraception, PrEP drugs, and other preventive care required by the defendants’ cur-
 rent interpretation and enforcement of 42 U.S.C. § 300gg-13.” (emphasis added));
 id. at ¶ 64 (“Dr. Hotze objects to the other preventive-care coverage mandates imposed
 by the defendants because Dr. Hotze wants the freedom to decide the extent to which



 brief in opposition to defendants’ motion to dismiss                        Page 9 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20              Page 15 of 39 PageID 331


 Braidwood’s plan will cover preventive care, and whether it will charge copays or re-
 quire preventive care to count toward an annual deductible.” (emphasis added)). We
 cannot understand how the government can insist that the plaintiffs have failed to
 allege injury from the remaining preventive-care mandates in light of these specific
 allegations.
       More importantly, only one of the plaintiffs needs to establish standing to seek
 declaratory and injunctive relief against the continued enforcement of the preventive-
 care coverage mandates. See Little Sisters of the Poor Saints Peter & Paul Home v. Penn-
 sylvania, 140 S. Ct. 2367, 2379 n.6 (2020) (“Under our precedents, at least one
 party must demonstrate Article III standing for each claim for relief.”); Town of Chester
 v. Laroe Estates, Inc., 137 S. Ct. 1645, 1651 (2017) (“At least one plaintiff must have
 standing to seek each form of relief requested in the complaint.”); Bowsher v. Synar,
 478 U.S. 714, 721 (1986). Braidwood obviously has standing to challenge each of
 the preventive-care mandates (apart from the Contraceptive Mandate) because it
 wants to control the coverage decisions in its self-insured plan. Any other plaintiff in
 this case can free-ride off Braidwood’s undisputed standing and seek the same relief

 against the continued enforcement of 42 U.S.C. § 300gg-13(a).

 II.     Res Judicata Does Not Bar The Claims Asserted By
         Members Of The DeOtte Classes
       The government insists that res judicata precludes members of the DeOtte classes
 from “challenging” the “Contraceptive Mandate.” But the plaintiffs in this case are
 challenging the constitutionality of the underlying statutes that authorize HRSA (and
 other entities) to impose preventive-care coverage mandates on private insurers. This
 is not the “same claim” or the “same cause of action” that was asserted in DeOtte,
 which concerned only the failure of the Contraceptive Mandate to provide sufficient
 exemptions for religious objectors. The government’s res judicata argument is also
 incompatible with Whole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292 (2016),



 brief in opposition to defendants’ motion to dismiss                        Page 10 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20               Page 16 of 39 PageID 332


 which it never cites. Hellerstedt allows the DeOtte class members to challenge the
 constitutionality of 42 U.S.C. § 300gg-13(a)(4) because it is a separate and distinct
 provision from the agency rules that were challenged in DeOtte. See id. at 2308. And
 even apart from Hellerstedt, the plaintiffs’ constitutional challenge to 42 U.S.C.
 § 300gg-13(a)(4) involves an entirely different “nucleus of operative fact” from the
 RFRA claims presented by the DeOtte litigants.

        A.     Hellerstedt Allows The DeOtte Class Members To Challenge The
               Constitutionality Of 42 U.S.C. § 300gg-13(a)(4)
     Hellerstedt holds that res judicata applies only when the same parties seek to relit-
 igate “the very same claim.” See id. at 2305 (“The doctrine of claim preclusion . . .
 prohibits ‘successive litigation of the very same claim’ by the same parties. Petitioners’
 postenforcement as-applied challenge is not ‘the very same claim’ as their preenforce-
 ment facial challenge.” (quoting New Hampshire v. Maine, 532 U.S. 742, 748
 (2001)); id. at 2307 (“The challenge brought in this case and the one in Abbott are
 not the ‘very same claim,’ and the doctrine of claim preclusion consequently does not
 bar a new challenge to the constitutionality of the admitting-privileges requirement.”
 (citation omitted)). Hellerstedt also makes clear that a challenge to the constitution-

 ality of 42 U.S.C. § 300gg-13(a)(4) is not “the very same claim” as the RFRA chal-
 lenges in DeOtte because section 300gg-13(a)(4) is a “separate, distinct provision”
 from the agency rules that were challenged in the DeOtte litigation. See id. at 2308.
     Hellerstedt holds that litigants may bring separate challenges to discrete provisions
 of the same statute — even when those separate provisions govern the same subject
 matter and are “part of one overarching government regulatory scheme.” The statute
 in Hellerstedt required abortions to be performed by doctors with hospital admitting
 privileges, and it also required abortions to be performed in ambulatory surgical cen-
 ters. Yet the Court allowed abortion providers to challenge the admitting-privileges
 provision and the surgical-center provision in separate lawsuits — even though the



 brief in opposition to defendants’ motion to dismiss                         Page 11 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20             Page 17 of 39 PageID 333


 provisions appeared in the same statute, and even though the claims arose out of the
 same nucleus of operative facts. The Court explained:

        The surgical-center provision and the admitting-privileges provision are
        separate, distinct provisions of H.B. 2. They set forth two different, in-
        dependent requirements with different enforcement dates. This Court
        has never suggested that challenges to two different statutory provisions
        that serve two different functions must be brought in a single suit. And
        lower courts normally treat challenges to distinct regulatory require-
        ments as “separate claims,” even when they are part of one overarching
        “[g]overnment regulatory scheme.”

        That approach makes sense. The opposite approach adopted by the
        Court of Appeals would require treating every statutory enactment as a
        single transaction which a given party would only be able to challenge
        one time, in one lawsuit, in order to avoid the effects of claim preclu-
        sion. Such a rule would encourage a kitchen-sink approach to any liti-
        gation challenging the validity of statutes. That outcome is less than
        optimal — not only for litigants, but for courts.
 Hellerstedt, 136 S. Ct. at 2308. All of this applies with equal or greater force to the
 challenges brought to 42 U.S.C. § 300gg-13(a)(4) and the agency rules that codify
 the Contraceptive Mandate.
     First, section 300gg-13(a)(4) and the agency rules challenged in DeOtte are far
 more “separate” and “distinct” from each other than the abortion-related statutory
 provisions in Hellerstedt. Section 300gg-13(a)(4) is a statutory provision enacted in
 2010 as part of the Affordable Care Act. The Contraceptive Mandate is a series of
 agency rules that post-date the enactment of section 300gg-13(a)(4). Second, the
 statute and the agency rules set forth “different, independent requirements.” Section
 300gg-13(a)(4) is a delegation of authority to the Health Resources and Services
 Administration to impose preventive-care mandates on private insurers, while the
 Contraceptive Mandate specifically compels private insurers to cover FDA-approved
 contraceptive methods. Third, section 300gg-13(a)(4) and the Contraceptive Man-
 date have different effective dates. Section 300gg-13(a)(4) took effect immediately




 brief in opposition to defendants’ motion to dismiss                        Page 12 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20               Page 18 of 39 PageID 334


 upon the ACA’s enactment, while the Contraceptive Mandate’s requirements did not
 take effect until 2013. When all of this is combined with Hellerstedt’s explicit encour-
 agement of separate lawsuits for separate provisions, it becomes impossible to sustain
 a res judicata defense against the plaintiffs’ constitutional challenges to section 300gg-
 13(a)(4).

        B.     The DeOtte Class Members Can Challenge The Constitutionality
               Of 42 U.S.C. § 300gg-13(a) (4) Under The “Same Nucleus Of
               Operative Facts” Test
      The DeOtte class members do not even need to rely on Hellerstedt to challenge
 the constitutionality of section 300gg-13(a)(4). Even if one applies the “common
 nucleus of operative fact” test that the government proposes (but that Hellerstedt
 eschewed),6 the constitutional challenge to section 300gg-13(a)(4) is a different
 “claim” from the RFRA challenge to the Contraceptive Mandate.
      The constitutional challenge to section 300gg-13(a)(4) alleges that Congress vio-
 lated the Constitution by enacting this statute.7 It challenges the legislature’s action
 in enacting a law that confers authority on individuals who are not appointed in con-
 formity with Article II, and that fails to provide an intelligible principle to guide the
 discretion of the Health Resources Services Administration. The “nucleus” of relevant
 facts concerns the text of this statute and the meaning of the Constitution — nothing

 more. The alleged constitutional violation occurred at the moment of the statute’s
 enactment,8 and the “nucleus” of relevant facts is centered around that event and
 nothing else. There is no concern with how HRSA decides to use its powers under




 6.   See Mot. to Dismiss (ECF No. 20) at 14.
 7.   See Nicholas Quinn Rosenkranz, The Subjects of the Constitution, 62 Stan. L. Rev.
      1209, 1214 (2010) (“[E]very constitutional holding should start by saying who
      has violated the Constitution.”).
 8.   See Rosenkranz, supra at 1224 (“Every constitutional violation must be located
      in time.” (emphasis removed)).


 brief in opposition to defendants’ motion to dismiss                         Page 13 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20               Page 19 of 39 PageID 335


 the statute; that is irrelevant to the Appointments Clause and nondelegation chal-
 lenges alleged in the first amended complaint. See First Amended Complaint (ECF
 No. 14) at ¶¶ 66–89.
     The claims in DeOtte, by contrast, were challenging only the behavior of executive-
 branch officials who enforced the Contraceptive Mandate in a manner that violated
 the Religious Freedom Restoration Act. The relevant facts concerned the meaning of
 RFRA and the conduct of the executive branch, which have nothing to do with any
 of facts surrounding the plaintiffs’ constitutional challenges to section 300gg-
 13(a)(4). There is no overlap at all with these factual nuclei, and the government does
 not even present an argument for how the constitutional challenges to section 300gg-
 13(a)(4) rest on the same “nucleus” of operative facts that undergird the RFRA claims
 in DeOtte. Indeed, the government does not even acknowledge that the plaintiffs in
 this case are challenging the underlying statute that purports to authorize the Con-
 traceptive Mandate, rather than the Mandate itself.

 III.   The Plaintiffs’ Claims Are Not Time-Barred
     The plaintiffs have sued to enjoin an ongoing violation of the Constitution and
 the Affordable Care Act. They are asking only for declaratory and injunctive relief to
 stop these unlawful acts from continuing; they are not seeking any backward-looking
 relief to remedy or undo an action that occurred in the past. The statute of limitations
 is simply inapplicable to claims that seek only prospective relief against the continued
 enforcement of an unconstitutional statute — or against the continued enforcement
 of an agency rule that violates federal law. See, e.g., Virginia Hospital Ass’n v. Baliles,
 868 F.2d 653, 663 (4th Cir. 1989) (“[T]he continued enforcement of an unconsti-
 tutional statute cannot be insulated by the statute of limitations.”), aff’d in part on
 other grounds Wilder v. Virginia Hospital Ass’n, 496 U.S. 498 (1990); Kuhnle Brothers,

 Inc. v. County of Geauga, 103 F.3d 516, 522 (6th Cir. 1997) (“A law that works an




 brief in opposition to defendants’ motion to dismiss                          Page 14 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20                Page 20 of 39 PageID 336


 ongoing violation of constitutional rights does not become immunized from legal
 challenge for all time merely because no one challenges it within two years of its en-
 actment.”).
      The government cites no case that holds that a plaintiff loses his right to seek
 prospective relief against the continued enforcement of an unconstitutional statute or
 an ultra vires agency rule unless he files suit within a specified time after its enactment.
 And we have been unable to locate any case that enforces a statute-of-limitations de-
 fense in these situations. It is common for litigants to challenge the continued en-
 forcement of old statutes, including statutes that criminalize abortion or define mar-
 riage as an opposite-sex union, and the courts have never held that the statute of
 limitations prevents litigants from seeking prospective relief against these statutes’ en-
 forcement. That is because the plaintiff’s “claims” accrue continually as the defend-
 ants persist in enforcing unconstitutional statutes (or ultra vires agency rules) in a
 manner that affects the plaintiff. See Flynt v. Shimazu, 940 F.3d 457, 462 (9th Cir.
 2019) (“When the continued enforcement of a statute inflicts a continuing or re-
 peated harm, a new claim arises (and a new limitations period commences) with each

 new injury.”). The same is true here: The defendants, by continuing to enforce 42
 U.S.C. § 300gg-13(a)(1)–(4) and the preventive-care mandates imposed under the

 auspices of that statute, are engaged in an ongoing violation of the Constitution, and
 their intent to continue in this unconstitutional and unlawful conduct is what allows
 the plaintiffs to seek declaratory and injunctive relief. A new cause of action “accrues”
 each day the defendants continue to enforce the disputed statute and agency rules.9

 9.   The government cites Palacios v. MedStar Health, Inc., 298 F. Supp. 3d 87
      (D.D.C. 2018), but the plaintiff in that case was seeking compensatory and pu-
      nitive damages over a health-care provider’s refusal to accommodate a
      transgender patient’s demands for breast-augmentation surgery. See Amended
      Complaint, Palacios v. MedStar Health, Inc., No. 1:17-cv-00867-CRC (ECF
      No. 22) at 13. Lawsuits seeking retrospective relief of that sort are always subject
      to limitations defenses.


 brief in opposition to defendants’ motion to dismiss                           Page 15 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20               Page 21 of 39 PageID 337


       The government is also wrong to suggest that sovereign immunity could bar the
 plaintiffs’ claims. See Mot. to Dismiss (ECF No. 20) at 17. The claims brought against
 against Secretaries Azar, Mnuchin, and Scalia fall within the Ex parte Young exception
 to sovereign immunity, so the plaintiffs do not need to satisfy any statute of limitations
 to overcome a sovereign-immunity defense. See Philadelphia Co. v. Stimson, 223 U.S.
 605, 619–20 (1912) (“The exemption of the United States from suit does not protect
 its officers . . . [when] acting in excess of [their] authority or under an authority not
 validly conferred.”). So the government’s attempt to link its limitations argument with
 sovereign immunity (and jurisdiction) runs headlong into the fact that sovereign im-
 munity has no application to the Ex parte Young claims in this case.

 IV.     The Plaintiffs Have                Alleged       A   Violation        Of    The
         Appointments Clause
       The government contends that the plaintiffs forfeited their Appointments Clause
 claims by failing to raise them before the agencies, and it says that any constitutional
 problems with the appointment of the ACIP and HRSA members have been “cured”
 because their decisions have been “ratified” by the Secretary of Health and Human
 Services or the Director of the Center for Disease Control and Prevention. See Mot.

 to Dismiss (ECF No. 20) at 19–22. Each of these arguments is meritless.
       The plaintiffs are challenging the constitutionality of an Act of Congress and seek-
 ing to enjoin its continued enforcement. They are not petitioning for review of an
 agency rulemaking or adjudication, nor are they taking any type of appeal from an
 agency to a court. A litigant need not present his claims to an agency unless he is
 asking a court to directly review an agency’s work, in the same way that a litigant must
 preserve arguments before a district court when seeking appellate review of that
 court’s decision. Each of the cases that the government cites involves litigants who
 had petitioned for review of an agency action or had appealed an agency action under
 a statute that authorized judicial review. None of those cases have any relevance to



 brief in opposition to defendants’ motion to dismiss                         Page 16 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20               Page 22 of 39 PageID 338


 this situation, where the plaintiffs have sued to stop the enforcement of an unconsti-
 tutional statute without regard to how the agencies have used their statutory author-
 ity.
        A litigant who is merely suing federal officers to stop them from enforcing an
 unconstitutional statute is not required to present his claims to agencies that might
 be affected by the constitutional pronouncement. In Barr v. American Association of
 Political Consultants, Inc., 140 S. Ct. 2335 (2020), for example, the plaintiffs who
 challenged the constitutionality of statutes regulating robocalls were not required to
 present their constitutional claims to the FCC. They simply filed a declaratory judg-
 ment action directly against the Attorney General and the FCC, without any need to
 present their constitutional arguments in agency proceedings. Id. at 2345. The gov-
 ernment does not cite a single case that enforces an agency-exhaustion requirement
 when a plaintiff sues to enjoin the continued enforcement of an allegedly unconstitu-
 tional statute, and we have not been able to find any.
        The government’s “ratification” argument is even more off-base. First, the statute
 does not allow the Secretary of Health and Human Services (or anyone else) to coun-

 termand HRSA’s guidelines, and the Secretary is given no discretion to accept or re-
 ject the guidelines that HRSA produces. When HRSA announces the “preventive care

 and screenings” that private insurers must cover, the Secretary is legally obligated to
 issue rules and enforce preventive-care mandates in accordance with HRSA’s guide-
 lines. Yet the government is trying to pass off the Secretary’s compulsory implemen-
 tation of HRSA’s decisions as a voluntary act of “ratification” — even though the text
 of section 300gg-13(a)(4) makes clear that HRSA holds the whip hand. See Little
 Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2380
 (2020) (“On its face, then, [section 300gg-13(a)(4)] grants sweeping authority to
 HRSA to craft a set of standards defining the preventive care that applicable health
 plans must cover.”); id. (“HRSA has virtually unbridled discretion to decide what


 brief in opposition to defendants’ motion to dismiss                         Page 17 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20              Page 23 of 39 PageID 339


 counts as preventive care and screenings.”); id. at 2381 (“By its terms, the ACA leaves
 the Guidelines’ content to the exclusive discretion of HRSA.” (emphasis added)).
     The statute likewise prohibits the Director of the CDC from overruling the rec-
 ommendations of ACIP. It requires all insurers to cover “immunizations that have in
 effect a recommendation from the Advisory Committee on Immunization Practices
 of the Centers for Disease Control and Prevention with respect to the individual in-
 volved.” 42 U.S.C. § 300gg-13(a)(2). The committee’s recommendations are final
 under the text of the statute, and the government cites no example where the CDC
 Director has overruled an ACIP recommendation since the enactment of the Afford-
 able Care Act.
     Second, even if the HHS Secretary or the CDC Director had the authority to
 veto or “ratify” HRSA’s guidelines or ACIP’s recommendations, section 300gg-13(a)
 would still violate the Appointments Clause because it empowers HRSA or ACIP to
 dictate the preventive care that private insurers must cover until an “officer of the
 United States” acts to approve or revoke their decisions. That constitutes “significant
 authority pursuant to the laws of the United States,” even if it remains subject to

 reversal by an “officer of the United States,” because the power to establish the default
 rule on matters of compulsory health-insurance coverage amounts to “significant au-

 thority” in and of itself. See Lucia v. SEC, 138 S. Ct. 2044, 2049 (2018) (holding
 that the SEC’s administrative law judges qualify as “officers of the United States,”
 even though their decisions are subject to review by the Commission itself).
     Finally, the government insists that the members of the Preventive Services Task
 Force and the Advisory Committee on Immunization Practices cannot qualify as “of-
 ficers of the United States” because they lack “a continuing and formalized relation-
 ship of employment with the United States government.” Mot. to Dismiss (ECF No.
 20) at 23 (quoting Riley v. St. Luke’s Episcopal Hospital, 252 F.3d 749, 757 (5th Cir.
 2001)). Both the major premise and the minor premise of this argument are wrong.


 brief in opposition to defendants’ motion to dismiss                        Page 18 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20             Page 24 of 39 PageID 340


     The Supreme Court has never held that an “officer of the United States” must
 hold a “formalized relationship of employment” with the federal government, and
 the Office of Legal Counsel has explicitly rejected this view in an opinion that binds
 the Department of Justice. See Officers of the United States Within the Meaning of the
 Appointments Clause, 31 Op. Off. Legal Counsel 73, 78 (Apr. 16, 2007) (“[F]ederal
 employment is not necessary for the Appointments Clause to apply.”); id. at 121 (spe-
 cifically rejecting the notion that “the Appointments Clause does not apply to persons
 who are not employees of the federal government, even if they are delegated perma-
 nent federal authority to enforce federal law.”).
     More importantly, the Supreme Court has established a two-part test for deter-
 mining whether someone qualifies as an officer of the United States, and that is the
 standard that lower courts and litigants must apply when considering Appointments
 Clause claims. See Lucia v. SEC, 138 S. Ct. 2044, 2051 (2018) (holding that one
 qualifies as an “officer of the United States” if they (1) “occupy a continuing position
 established by law”; and (2) “exercise significant authority pursuant to the laws of the
 United States.”). Nowhere does this test purport to require an employer–employee

 relationship, and the government does not attempt to explain how the members of
 PSTF and ACIP fail to qualify as “officers” under either prong of the Lucia test.

     The members of PSTF and ACIP easily qualify as “officers of the United States”
 under Lucia. First, each of these members occupies “a continuing position established
 by law.” The Preventive Services Task Force was established by an Act of Congress in
 1984, and the Advisory Committee on Immunization Practices was established pur-
 suant to 42 U.S.C. § 217a, which authorizes the Secretary of Health and Human
 Services to establish “advisory councils or committees.” Each of these entities has
 therefore been “established by law.” And each of these entities has remained in con-
 tinued existence since they were first established in 1984 (PSTF) and 1964 (ACIP).




 brief in opposition to defendants’ motion to dismiss                       Page 19 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20                Page 25 of 39 PageID 341


 The members of PSTF and ACIP therefore occupy “continuing positions” that are
 also “established by law.”10
     This is what distinguishes PSTF and ACIP from private institutions or state or
 foreign governments whose decisions are sometimes incorporated by reference into
 federal statutes. The government correctly notes that federal laws incorporate by ref-
 erence recommendations of the American National Standards Institute (ANSI), and
 some federal criminal offenses are defined by reference to state or foreign law. See
 Mot. to Dismiss (ECF No. 20) at 25 (citing 4 U.S.C. § 119(a)(2), 16 U.S.C. §
 3372(a)(2)(A), 18 U.S.C. § 13(a), 42 U.S.C. § 6293(b)(8)). But none of this violates
 the Appointments Clause, because the members of ANSI and the state and foreign
 government officials do not occupy “a continuing position established by [federal]
 law.” Lucia, 138 S. Ct. at 2051. ANSI is a private, non-profit entity that was not
 created or established by a federal statute. And members of state and foreign govern-
 ments are obviously not occupying “a continuing position established by [federal]
 law.” Lucia , 138 S. Ct. at 2051. One cannot be an “officer of the United States”
 unless there is a federal office to occupy — and the first part of the Lucia test ensures

 that there is a federal “office” that is held by the alleged “officer.”11 There is no doubt,



 10. See Officers of the United States Within the Meaning of the Appointments Clause,
     31 Op. Off. Legal Counsel 73, 111 (Apr. 16, 2007) (“[A]n office exists where
     a position that possesses delegated sovereign authority is permanent, meaning
     that it is not limited by time or by being of such a nature that it will terminate
     ‘by the very fact of performance.’ ”).
 11. See Officers of the United States Within the Meaning of the Appointments Clause,
     31 Op. Off. Legal Counsel 73, 73–74 (Apr. 16, 2007) (“We conclude that any
     position having the two essential characteristics of a federal “office” is subject to
     the Appointments Clause. That is, a position, however labeled, is in fact a federal
     office if (1) it is invested by legal authority with a portion of the sovereign powers
     of the federal government, and (2) it is “continuing.” A person who would hold
     such a position must be properly made an “Officer[] of the United States” by
     being appointed pursuant to the procedures specified in the Appointments
     Clause.”).


 brief in opposition to defendants’ motion to dismiss                           Page 20 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20             Page 26 of 39 PageID 342


 however, that the members of PSTF and ACIP occupy federal offices, because each
 of these entities was created and established by federal law.
     Second, the members of PSTF and ACIP exercise “significant authority pursuant
 to the laws of the United States.” Lucia, 138 S. Ct. at 2051. It is hard to conceive of
 “authority” more “significant” than the power to unilaterally dictate the scope of pre-
 ventive care that all private insurers must cover, without any cost-sharing arrange-
 ments such as deductible or copays. And the members of PSFT and ACIP wield these
 powers “pursuant to the laws of the United States,” as 42 U.S.C. § 300gg-13(a)(1)
 and (a)(2) explicitly confer this authority upon them. The government does not even
 attempt to argue that these powers fail to qualify as “significant authority pursuant to
 the laws of the United States” under Lucia.
     Rather than addressing the Supreme Court’s test for “officers of the United
 States,” the government hangs it hat on Riley v. St. Luke’s Episcopal Hospital, 252 F.3d
 749 (5th Cir. 2001), which asserts that “the constitutional definition of an ‘officer’
 encompasses, at a minimum, a continuing and formalized relationship of employment
 with the United States Government.” Id. at 757. Riley’s insistence on a formalized

 employment relationship finds no support in the rulings of the Supreme Court, which
 ask only whether the individual “occupies a continuing position established by law”

 and “exercises significant authority pursuant to the laws of the United States.” See
 Lucia, 138 S. Ct. at 2051. It also contradicts the opinions of the Office of Legal
 Counsel, which specifically hold that “federal employment is not necessary for the
 Appointments Clause to apply.” Officers of the United States Within the Meaning of the
 Appointments Clause, 31 Op. Off. Legal Counsel 73, 78 (Apr. 16, 2007). But Riley
 remains a precedent of the Fifth Circuit, so these statements in Riley cannot be dis-
 missed as simply wrong. Instead, they should be interpreted in a manner that mitigates
 any inconsistency with the views expressed by Supreme Court and the Office of Legal
 Counsel.


 brief in opposition to defendants’ motion to dismiss                       Page 21 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20              Page 27 of 39 PageID 343


     The Court should hold that an individual has a “formalized relationship of em-
 ployment with the United States government” under Riley whenever he “occupies a
 continuing position established by law” — regardless of whether he receives payment
 or emoluments for his work. This is a permissible (though not mandatory) interpre-
 tation of Riley, and this approach would eliminate any inconsistency between Riley
 and Lucia (and between Riley and the opinions of OLC). The words “employ” and
 “employment” can be used to describe work that does not involve payment,12 and the
 notion that paid employment is required to make one an “officer of the United
 States” is flatly contradicted by original meaning and historical practice. As the Office
 of Legal Counsel explains:

        [A]ny understanding of an ‘office’ that would require an ‘emolument’
        akin to the compensation that a person on the regular payroll of the
        federal government receives would conflict with the original meaning
        of the Appointments Clause as revealed by earliest practice. In the first
        decade under the Constitution, most federal officers, particularly those
        outside the capital, received no compensation from the government,
        much less a regular one. Instead, they received authority to collect fees
        . . .”
 Officers of the United States Within the Meaning of the Appointments Clause, 31 Op.

 Off. Legal Counsel 73, 120 (Apr. 16, 2007).13 And there is no need to construe the



 12. See, e.g., “employ.” Merriam-Webster.com. 2020. https://www.merriam-web-
     ster.com/dictionary/employ (September 12, 2020) (defining “stepfather” as
     “1a: to make use of (someone or something inactive) employ a pen for sketching;
     b: to use (something, such as time) advantageously a job that employed her skills;
     c(1): to use or engage the services of; (2): to provide with a job that pays wages
     or a salary; 2: to devote to or direct toward a particular activity or person em-
     ployed all her energies to help the poor.”); see also Officers of the United States
     Within the Meaning of the Appointments Clause, 31 Op. Off. Legal Counsel 73,
     121 (Apr. 16, 2007).
 13. See also Officers of the United States Within the Meaning of the Appointments
     Clause, 31 Op. Off. Legal Counsel 73, 119 (Apr. 16, 2007) (“[A]n emolument
     is also a common characteristic of an office, as Hartwell indicates, 73 U.S. at
     393, but it too is not essential: ‘Like the requirement of an oath,’ provision for


 brief in opposition to defendants’ motion to dismiss                        Page 22 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20               Page 28 of 39 PageID 344


 word “employment” in Riley (or in other cases) as requiring payment from the federal
 government:

        [T]he general language of these cases allows for an office that does not
        involve government employment in the modern sense. Maurice, for ex-
        ample, said that an office is “a public charge or employment,” 26 F. Cas.
        at 1214 (internal quotation marks omitted; emphasis added), and Hart-
        well defined an office as “a public station, or employment,” 73 U.S. at
        393 (emphasis added). Maurice, among others, also does state that an
        “office is ‘an employment,’” 26 F. Cas. at 1214, but such a statement
        must be read in a contemporaneous rather than anachronistic sense,
        broadly to include anyone engaged by the government, whether an in-
        dependent contractor, “employee,” or other agent. The pertinent def-
        inition of “employ” is:
               To engage in one’s service; to use as an agent or substi-
               tute in transacting business; to commission and entrust
               with the management of one’s affairs. The president em-
               ployed an envoy to negotiate a treaty. Kings and States
               employ ambassadors at foreign courts.
        Noah Webster, An American Dictionary of the English Language, tit.
        Employ (1828). Thus, even an “agreement” to provide services (such
        as “to make hay” or “plough land”) was an “employment.
 Officers of the United States Within the Meaning of the Appointments Clause, 31 Op.
 Off. Legal Counsel 73, 121 (Apr. 16, 2007). It is hard to understand how the De-
 partment of Justice can take a position in this Court that so flatly contradicts the
 pronouncements of the Office of Legal Counsel, and it is even harder to understand
 why it would not seek an interpretation of Riley that is consonant with OLC’s views.




      pay ‘may aid in determining the nature of the position, but it is not conclu-
      sive. . . . As in the case of the oath, the salary or fees are mere incidents and form
      no part of the office.’ Mechem § 7, at 6; see id. at 6 n.3 (‘it is not a sine qua
      non’); Kennon, 7 Ohio St. at 559 (‘That compensation or emolument is a usual
      incident to office, is well known; but that it is a necessary element in the consti-
      tution of an office, is not true.”); id. at 120 (“If Presidents were to serve without
      pay, as Benjamin Franklin had proposed, see James Madison, Notes of Debates
      in the Federal Convention of 1787, at 51–55 (June 2, 1787) (1987), they would
      no less hold an office.”).


 brief in opposition to defendants’ motion to dismiss                          Page 23 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20              Page 29 of 39 PageID 345


      It is undisputed that the members of PSTF and ACIP “occupy a continuing po-
 sition established by law” and “exercise significant authority pursuant to the laws of
 the United States.” Lucia v. SEC, 138 S. Ct. at 2051. That is all that is needed to
 make them “officers of the United States.”

 V.     The Secretary’s Authority To Appoint ACIP Members
        Under 42 U.S.C. § 217a(a) Does Not Defeat The Plaintiffs’
        Appointments Clause Claim
      In a footnote, the government claims that members of ACIP are appointed con-

 sistent with the Appointments Clause because 42 U.S.C. § 217a empowers the Secre-
 tary to appoint members of “advisory councils or committees.” The government con-
 tends that ACIP members are appointed pursuant to this statutory authority, and that
 (in the government’s view) satisfies the Constitution’s requirement for appointing “in-
 ferior officers.” This argument is unavailing for three reasons.
      First, ACIP is no longer an “advisory” council or committee within the meaning
 of 42 U.S.C. § 217a because the Affordable Care Act makes its recommendations
 mandatory and binding upon every insurer in the United States. See 42 U.S.C.
 § 300gg-13(a)(2) (requiring insurers to cover the immunizations “recommended” by
 ACIP). ACIP’s role before the enactment of the ACA was advisory, but it can no longer
 be passed off as an “advisory” committee under 42 U.S.C. § 217a now that it holds

 the power to dictate which immunizations private insurance must cover. So 42 U.S.C.
 § 217a does not qualify as a “law” that vests the appointment of ACIP members in
 the Secretary of HHS, because ACIP no longer falls within the definition of an “ad-
 visory committee.”
      Second, 42 U.S.C. § 217a cannot qualify as a law that “vests” the appointment
 of any “inferior officer” in the Secretary of HHS, because members of “advisory”
 councils and committees will never qualify as “officers” under the Appointments
 Clause. See Officers of the United States Within the Meaning of the Appointments




 brief in opposition to defendants’ motion to dismiss                      Page 24 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20             Page 30 of 39 PageID 346


 Clause, 31 Op. Off. Legal Counsel 73, 77 (Apr. 16, 2007) (“[A]n individual who
 occupies a purely advisory position (one having no legal authority) . . . does not hold
 a position with delegated sovereign authority of the federal government and therefore
 does not hold a federal office.”); The Constitutional Separation of Powers Between the
 President and Congress, 20 Op. Off. Legal Counsel 124, 144 (1996) (“[T]he mem-
 bers of a commission that has purely advisory functions ‘need not be officers of the
 United States’ because they ‘possess no enforcement authority or power to bind the
 Government.’” (quoting Proposed Commission on Deregulation of International Ocean
 Shipping, 7 Op. Off. Legal Counsel 202, 202–03 (1983)). Any person appointed
 pursuant to 42 U.S.C. § 217a is by definition a non-officer of the United States who
 holds a purely “advisory” role, so 42 U.S.C. § 217a cannot be used to defeat an con-
 stitutional challenge to the appointment of someone who does qualify as an “officer
 of the United States” under Lucia.
     Third, the members of ACIP cannot qualify as “inferior officers” because their
 recommendations are conclusive and final under 42 U.S.C. § 300gg-13(a)(2). See Ed-
 mond v. United States, 520 U.S. 651, 662–63 (1997) (“Whether one is an “inferior”

 officer depends on whether he has a superior. . . . [W]e think it evident that “inferior
 officers” are officers whose work is directed and supervised at some level by others

 who were appointed by Presidential nomination with the advice and consent of the
 Senate.”). The statute allows no one to override ACIP’s recommendations, and it
 compels private insurers to cover ACIP’s recommended immunizations without any
 appeal to a higher source of authority. Whatever ACIP says goes. So Congress lacks
 the authority to vest the appointment of ACIP members in the President alone, in the
 Courts of Law, or in the Heads of Department. They must be appointed as principal
 officers, who are subject to Presidential nomination and Senate confirmation.




 brief in opposition to defendants’ motion to dismiss                       Page 25 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20             Page 31 of 39 PageID 347


 VI.     The Plaintiffs Have Alleged A Violation Of The Vesting
         Clause
       The government denies that 42 U.S.C. § 300gg-13(a)(1) violates Article II’s vest-

 ing clause by empowering the Preventive Services Task Force to dictate the “items or
 services” that private insurers must cover, while simultaneously insulating the mem-
 bers of the task force from Presidential direction or control. See 42 U.S.C. § 299b-4
 (“All members of the Task Force convened under this subsection, and any recommen-
 dations made by such members, shall be independent and, to the extent practicable,
 not subject to political pressure.”). The government denies that the PSTF is exercising
 any type of “legislative” or “executive” power — or even “quasi-legislative power” —
 because (in the government’s view) the PSTF is indistinguishable from the American
 National Standards Institute (ANSI), or the state and foreign governments whose
 decision are incorporated by reference into federal statutes. The government’s argu-
 ment is untenable.
       The Preventive Services Task Force is an entity of the federal government. It is

 funded by the Agency for Healthcare Research and Quality, which appoints its mem-
 bers and provides its support staff.14 And it was created and established by an Act of
 Congress in 1984. A government agency of this sort must comply with the constitu-
 tional rules established in Articles I and II; Congress cannot create independent enti-

 ties and then empower them to make legally binding decisions independent of Presi-
 dential control. See Seila Law LLC v. Consumer Financial Protection Bureau, 140 S.
 Ct. 2183 (2020). ANSI is a private, non-profit entity that is not part of the federal
 government and was not created by the federal government. State and foreign gov-
 ernments are not part of the federal government either, so they do not need to comply
 with constitutional separation-of-powers rules — even when they exercise authority



 14. See https://www.ahrq.gov/cpi/about/otherwebsites/uspstf/index.html (last
     visited on September 12, 2020).


 brief in opposition to defendants’ motion to dismiss                       Page 26 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20              Page 32 of 39 PageID 348


 pursuant to a federal statute. State judicial officers, for example, are not required to
 hold life tenure and salary protection, even when they decide cases arising under a
 federal statute, because they are entities of their state government and do not exercise
 “the judicial power of the United States.” See William Baude, Adjudication Outside
 Article III, 133 Harv. L. Rev. 1511 (2020). The Supreme Court has never allowed
 an entity that is part of the federal government to exempt itself from constitutional
 separation-of-powers rules, and the Court’s recent decision in Seila Law is an emphatic
 reminder that purely independent federal agencies of the type established in 42 U.S.C.
 § 300gg-13(a) have no place in our constitutional structure.

 VII. The Plaintiffs Have Alleged                        A   Violation        Of    The
      Nondelegation Doctrine
     Statutes that delegate authority to agencies must supply an “intelligible principle”
 to guide the agency’s discretion. See Whitman v. American Trucking Associations, 531
 U.S. 457, 472 (2001). Yet there is nothing in the text of section 300gg-13(a) that
 purports to guide the discretion of PSTF, ACIP, or HRSA when choosing the pre-
 ventive care that private insurance must cover. The statute does not even require these
 agencies to make these decisions based on the “public interest” or the “public health,”

 and it does not provide any factors or considerations that might influence the agency’s
 decisionmaking. Even the statutes that fall along the outermost boundary of consti-
 tutionally permissible delegations have at least something to guide the agency; this
 statute has nothing at all.
     The government suggests that the statute provides an “intelligible principle” be-
 cause the PSTF has established its own criteria for determining which “items or ser-
 vices” receive an “A” or “B” grade. See Mot. to Dismiss (ECF No. 20) at 27. But
 Whitman explicitly rejects the idea that an agency can cure the absence of an intelli-
 gible principle in a statute by supplying the intelligible principle that Congress failed
 to provide:



 brief in opposition to defendants’ motion to dismiss                        Page 27 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20                 Page 33 of 39 PageID 349


         [W]hen Congress confers decisionmaking authority upon agencies
         Congress must “lay down by legislative act an intelligible principle to
         which the person or body authorized to [act] is directed to conform.”
         J.W. Hampton, Jr., & Co. v. United States, 276 U.S. 394, 409 (1928).
         We have never suggested that an agency can cure an unlawful delega-
         tion of legislative power by adopting in its discretion a limiting con-
         struction of the statute. . . . The idea that an agency can cure an uncon-
         stitutionally standardless delegation of power by declining to exercise
         some of that power seems to us internally contradictory. The very
         choice of which portion of the power to exercise — that is to say, the
         prescription of the standard that Congress had omitted — would itself
         be an exercise of the forbidden legislative authority. Whether the statute
         delegates legislative power is a question for the courts, and an agency’s
         voluntary self-denial has no bearing upon the answer.
 Whitman, 531 U.S. at 472 (emphasis added). The “intelligible principle” must appear
 in the statute itself, not in any agency-created guidelines.
       The government also suggests that the statute provides an “intelligible principle”
 by allowing PSTF to compel coverage only of “evidence-based items and services,”15
 by allowing ACIP to compel coverage only of “immunizations,”16 and allowing HRSA
 to compel coverage only of “preventive care and screenings,”17 and then only of pre-
 ventive care and screenings for “infants, children, and adolescents,”18 or “for
 women.”19 See Mot. to Dismiss (ECF No. 20) at 27. This argument confuses a statu-
 tory boundary on an agency’s authority with the “intelligible principle” needed to
 guide the agency’s discretion within those boundaries. Limiting the scope of HRSA’s
 powers to “preventive care and screenings,” for example, does nothing to provide
 guidance when HRSA is deciding which “preventive care” and which “screenings” will
 be covered. That is where the absence of an intelligible principle is felt, and the gov-
 ernment cannot point to anything in the statute that alleviates this problem.


 15.    42 U.S.C. § 300gg-13(a)(1).
 16.    42 U.S.C. § 300gg-13(a)(2).
 17.    42 U.S.C. § 300gg-13(a)(3)–(4).
 18.    42 U.S.C. § 300gg-13(a)(3).
 19.    42 U.S.C. § 300gg-13(a)(4).


 brief in opposition to defendants’ motion to dismiss                         Page 28 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20              Page 34 of 39 PageID 350


     Finally, the Supreme Court’s recent opinion in Little Sisters indicates that the jus-
 tices have at least some discomfort with the delegation in section 300gg-13(a)(4).
 Consider this passage, which seems to go out of its way to call out the statute as a
 unique (and uniquely troublesome) delegation:

       On its face, then, [section 300gg-13(a)(4)] grants sweeping authority
       to HRSA to craft a set of standards defining the preventive care that
       applicable health plans must cover. But the statute is completely silent
       as to what those “comprehensive guidelines” must contain, or how
       HRSA must go about creating them. The statute does not, as Congress
       has done in other statutes, provide an exhaustive or illustrative list of
       the preventive care and screenings that must be included. See, e.g., 18
       U.S.C. § 1961(1); 28 U.S.C. § 1603(a). It does not, as Congress did
       elsewhere in the same section of the ACA, set forth any criteria or stand-
       ards to guide HRSA’s selections. See, e.g., 42 U.S.C. § 300gg–13(a)(3)
       (requiring “evidence-informed preventive care and screenings” (empha-
       sis added)); § 300gg–13(a)(1) (“evidence-based items or services”). It
       does not, as Congress has done in other contexts, require that HRSA
       consult with or refrain from consulting with any party in the formula-
       tion of the Guidelines. See, e.g., 16 U.S.C. § 1536(a)(1); 23 U.S.C.
       § 138. This means that HRSA has virtually unbridled discretion to de-
       cide what counts as preventive care and screenings. But the same capa-
       cious grant of authority that empowers HRSA to make these determi-
       nations leaves its discretion equally unchecked in other areas, including
       the ability to identify and create exemptions from its own Guidelines.

       Congress could have limited HRSA’s discretion in any number of ways,
       but it chose not to do so. Instead, it enacted “‘expansive language of-
       fer[ing] no indication whatever’” that the statute limits what HRSA can
       designate as preventive care and screenings or who must provide that
       coverage.
 Little Sisters, 140 S. Ct. at 2380 (some citations omitted). Of course, the Supreme
 Court did not go so far as to say that section 300gg-13(a)(4) actually violates the
 nondelegation doctrine. But the Court did make clear that the doctrine continues to
 exist — and that they will continue policing the boundary between permissible and
 impermissible delegations of lawmaking power. See Gundy v. United States, 139 S. Ct.
 2116 (2019). If the provisions of section 300gg-13(a)(1)–(4) are held to pass muster



 brief in opposition to defendants’ motion to dismiss                        Page 29 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20               Page 35 of 39 PageID 351


 under the “intelligible principle” standard, then one must wonder how any statute
 could possibly fail this court-imposed test.

 VIII. 42 U.S.C. § 300gg-13(a)(1)–(4) Should Be Construed, As A
       Matter Of Statutory Interpretation, To Refer To The
       Ratings, Recommendations, Or Guidelines That Existed On
       The Date That The Affordable Care Act Became Law
     The canon of constitutional avoidance counsels in favor of interpreting 42 U.S.C.
 § 300gg-13(a)(1)–(4) to require coverage only of the ratings, recommendations, or
 guidelines that existed on the date that the Affordable Care Act was enacted into law.
 It is at least possible to read the statutory language this way, and this construction will
 obviate the serious constitutional problems with the government’s interpretation of
 statute. The plaintiffs need only to show that: (1) Their proposed interpretation of the
 statute is possible; and (2) The government’s interpretation of the statute presents

 serious constitutional questions.
     The government argues (and we agree) that section 300gg-13(a)(1)–(4) is “most
 naturally read” to incorporate the agencies’ future ratings, recommendations, and
 guidelines, especially when the statute is considered alongside other provisions such
 as section 300gg-13(a)(5) and section 300gg-13(b). See Mot. to Dismiss (ECF No.
 20) at 29–32. And in the absence of any constitutional doubt, these structural argu-
 ments (when combined with Chevron deference) would compel any court to adopt
 the government’s construction of the statute. But the constitutional-avoidance canon

 allows courts to adopt unnatural or unplausible interpretations of statutory language,
 so long as the contrary interpretation would present a serious constitutional question.
 Indeed, the Supreme Court has adopted some exceedingly dubious interpretations of
 statutory language in the name of constitutional avoidance — sometimes going so far
 as to contradict an unambiguous statutory text. See, e.g., INS v. St. Cyr, 533 U.S. 289,
 299–300 (2001); Northwest Austin Municipal Utility District No. One v. Holder, 557




 brief in opposition to defendants’ motion to dismiss                          Page 30 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20              Page 36 of 39 PageID 352


 U.S. 193, 204–06 (2009); Bond v. United States, 572 U.S. 844 (2014). So the statu-
 tory-interpretation question turns on whether the plaintiffs have presented constitu-
 tional challenges serious enough to trigger the canon of constitutional avoidance.
       The government denies that the constitutional-avoidance canon should apply, in-
 sisting that the plaintiffs’ constitutional arguments are not only mistaken but not even
 colorable enough to present a “serious” constitutional question. Although we respect
 the government’s views, we think it impossible to deny that the constitutional claims
 presented in this case are at least serious enough to implicate the avoidance canon,
 especially given the Supreme Court’s recently expressed concerns about the constitu-
 tionality of 42 U.S.C. § 300gg-13(a)(4). See Little Sisters, 140 S. Ct. at 2380.

 IX.     The Plaintiffs Have Alleged A Violation Of RFRA
       Plaintiffs Kelley, Starnes, Zach and Ashley Maxwell, Kelley Orthodontics, and
 Braidwood each hold sincere religious objections to the compulsory coverage of PrEP
 drugs, and this explained clearly in the complaint:

         Mr. Kelley, Mr. Starnes, Mr. Maxwell, and Ms. Maxwell also object to
         contraceptive coverage and the coverage of PrEP drugs on religious
         grounds. Each of these plaintiffs is a Christian, and they are unwilling
         to purchase health insurance that subsidizes abortifacient contraception
         or PrEP drugs that encourage and facilitate homosexual behavior.
 First Amended Complaint (ECF No. 14) at ¶ 36 (emphasis added). The complaint
 also states that Mr. Kelley is the owner of Kelley Orthodontics, see id. at ¶ 53, and the
 Kelley Orthondontics “wishes to provide health insurance for its employees that ex-
 cludes coverage of . . . PrEP drugs.” And the complaint specifically explains Braid-
 wood’s religious objections to the compulsory coverage of PrEP drugs:

         Dr. Hotze is therefore unwilling to allow Braidwood’s self-insured plan
         to cover PrEP drugs such as Truvada and Descovy because these drugs
         facilitate or encourage homosexual behavior, which is contrary to Dr.
         Hotze’s sincere religious beliefs.
 First Amended Complaint (ECF No. 14) at ¶ 63.




 brief in opposition to defendants’ motion to dismiss                        Page 31 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20             Page 37 of 39 PageID 353


     All of these allegations make clear that the plaintiffs are asserting a complicity-
 based objection to the coverage of PrEP drugs, because they do not wish to subsidize
 or provide drugs that “encourage and facilitate homosexual behavior.” Id. at ¶ 36.
 That unquestionably qualifies as a “substantial burden” on the exercise of their reli-
 gion, and the Supreme Court has repeatedly held that courts must accept a religious
 objector’s complicity-based objections to unwanted health-insurance coverage — no
 matter how attenuated the complicity may seem to an opposing party or a federal
 judge. The Court’s only task is to determine whether a complicity-based objection is
 sincere; it may not dismiss a religious objector’s sincere complicity objections as un-
 reasonable or “too attenuated.” See Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682,
 725 (2014); Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140
 S. Ct. 2367, 2383 (2020). Each of these plaintiffs has clearly alleged a complicity-
 based objection to the compulsory coverage of PrEP drugs that is rooted in their
 sincere religious beliefs (or in the case of Braidwood and Kelley Orthodontics, in the
 sincere religious beliefs of their owners). And the sincerity of those beliefs must be
 accepted as true at this stage of the litigation.




 brief in opposition to defendants’ motion to dismiss                      Page 32 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20            Page 38 of 39 PageID 354


                                CONCLUSION
     The defendants’ motion to dismiss should be denied.

                                          Respectfully submitted.

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 brief in opposition to defendants’ motion to dismiss                  Page 33 of 34
Case 4:20-cv-00283-O Document 24 Filed 09/12/20         Page 39 of 39 PageID 355


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 brief in opposition to defendants’ motion to dismiss                Page 34 of 34
